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          Exhibit 28
5/19/2017                         West Thames Field, 'Hostage' to Agency Feud, Finally Reopens | Tribeca Trib Online
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                   West Thames Field, 'Hostage' to
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       Submitted by admin on Thu, 08/11/2011 ­ 11:27pm




                                                                                                          CARL GLASSMAN / TRIBECA TRIB
        Jake Giarraputo, 8, was disappointed to find the field closed at West Thames Park recently despite signs on the fence that said
        it would open that day.




       Wrangling between state agencies appears to have finally come to an end this week, paving the way for a
       reopening of West Thames Park field. The field officially opened on rainy Monday morning, Aug. 15.
       At the center of the delays have been disagreements between the state Department of Transportation, which built
       the park, and the Battery Park City Authority, which will take possession and maintain it. Only when the
       Authority deems that the park, which includes the adjoining playground, is finished and in good order would it
       agree to take ownership and allow the lawn to open.
       That agreement has been hard to come by. The most recent conflict, in a series of seemingly petty disputes,
       according to the source, was whether the state should provide the Authority with spare parts for the play
       equipment, bench slats and drinking fountain.
       “The lawn is hostage to the whole park,” the source said prior to the reported agreement. “That is the fact. The
       lawn is not the holdup here. It’s like the tail wagging the dog.” 

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5/19/2017                          West Thames Field, 'Hostage' to Agency Feud, Finally Reopens | Tribeca Trib Online
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       A true opening date will be welcome news for Battery Park City kids, who have spent most of the summer
       looking at a field of green grass from the other side of a fence.
       “I am eager like crazy,” 8­year­old Jake Giarraputo said last week, pointing to a notice on the fence that declared
       the latest promise—unkept—of an opening date. “It’s had like a million signs.”
       The field, which turned into a muddy mess last year shortly after it opened, closed in May so that state
       Department of Transportation contractors could lay down a different type of sod. It was first slated to reopen on
       July 22, but bureaucratic squabbles kept pushing the date back.
       Both the Battery Park City Authority and the state Department of Transportation were silent on the dispute until
       Friday, when they announced through a two­sentence email that the field would be opening and the BPCA
       would be maintaining it. The announcement confirmed the Trib’s story, posted earlier, that the field will open on
       Monday.  
       The final checklist for construction was just the latest in a string of disagreements between the Authority and the
       DOT, which undertook the $9.4 million renovation of West Thames Park as part of its reconstruction of West
       Street.
       Work to fix the playing field’s sod was initially delayed this spring while the DOT tried to negotiate a
       maintenance agreement for the park with the Authority. (The Authority’s Parks Conservancy used to maintain
       the park before the DOT renovated it, but balked at taking up the task again because it said the new park would
       be much more expensive to care for.)
       The park has had other problems since it opened last year. In particular, a water feature in the playground
       developed drainage problems creating standing pools of water and concerns among parents about the health
       effects on their children.
       That issue was resolved. Now the one over a beautiful new lawn is, too.
       “I am pretty frustrated,”  Giarraputo’s mom, Ann Glass, said earlier this month. “We’ve been waiting all
       summer for this.”

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                   Neighborhood to Authority Prez
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       Battery Park City residents got a chance to take their gripes to the top Thursday night with a Battery Park City
       Authority­sponsored “Town Hall” held at P.S. 276. At the meeting, attended by some 75 residents, BPCA
       president Gayle Horwitz responded to a variety of complaints. Here are some of them.
       Rat Infestation
       Battery Park City is facing a growing rat menace, residents said.
       “I would never allow my grandchildren to touch or sit in the Wagner Park grass because I guarantee it is
       inundated with rat feces,” one woman complained.
       Horwitz asked the group for the location of rat sitings: Wagner Park, South Cove, Kowsky Plaza, West Thames
       Playground, the walkway near the ball fields, they shouted back.
       “Basically, the whole neighborhood,” Fran Miller said.
       Tessa Huxley, executive director of the Battery Park City Parks Conservancy, said that people are helping the rat
       population grow by feeding birds and squirrels and mishandling garbage.  Construction on Pier A also
       contributes to the problem, she said.
       “We are going to have to try and figure out a rat agenda, so to speak, and really figure out how to tackle this
       problem,” Horwitz said.


       Unwelcome Neighbors
       Occupy Wall Street protesters have been sleeping in cars and vans in Battery Park City, according to several
       residents. They wanted to know if anything could be done about their new mobile neighbors.
       Horwitz, who met with building managers earlier in the week to discuss the issue, said it is legal for car owners
       to sleep in their vehicles.
       “For how long?” Battery Park City resident Peter Acken asked.
       As long as they move their vehicle for street sweeping, was the reply.
       “They are being very clever about it,” Horwitz said. “They are actually following the parking rules.”
       Another resident complained about a white van that had been parked on Rector Street for weeks. Police are
       aware of the van and are watching it, Horwitz said.


       Tour Buses
       Residents and Battery Park City staff alike have noticed an increase in parked buses in recent months,
       particularly on South End Avenue.
       “What can a citizen do?” one man asked. “Calling 311 is ineffective.”
       Horwitz is asking residents to take pictures of tour buses idling in Battery Park City to help her pressure the
       Department of Transportation to tackle the growing issue.

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       “I walk around Battery Park City with my Blackberry taking pictures of the buses and I send them to the
       [Department of Transportation’s] borough commissioner,” Horwitz said. “It is a pet peeve of mine.”
       Horwitz said she has been working with the Sept. 11 Memorial and the DOT to tackle the issue, and she is
       requesting more ticketing by police.
       The Authority is setting up a special email address where residents can send their pictures. That address will be
       posted soon at batteryparkcity.org, Horwitz said.


       Recent Firings
       Residents who came to the Town Hall meeting seeking answers about the abrupt firing of 19 Battery Park City
       Authority staff members last week left disappointed.
       The workers, including a vice president of operations, vice president of human resources, and the vice president
       of community relations, were laid off on Nov. 9.
       The dismissed staff were given no warning before they were fired, and were told their health insurance would be
       terminated at the end of the month, a fired staffer told the Trib.
       Horwitz said the Authority had “restructured” its staff because the agency’s mission was changing now that
       Battery Park City is fully built out.
       “The authority is at a crossroads in our history and our mission is changing,” Horwitz said. Some of the
       positions, an Authority spokesman has said, will be filled with new hires.
       “Tonight is not to talk about personnel issues at the Authority, but really to discuss community issues,” Horwitz
       said, after a resident asked how much money would be spent on consultants with so many long­term staffers
       gone. “But I assure you the services and the quality of services the community has grown accustomed to will not
       be impacted in any way.”
       That answer did not satisfy Dolores D’Agostino, who said she was frustrated by how residents’ questions on the
       issue were side­stepped.
       “You represent the community,” D’Agostino told Horwitz. “You are not a private entity.”
       D’Agostino said she understood the Authority may have needed to change its staffing levels, but disagreed with
       the way it was done.
       “If you have to downsize, there are things you can do to protect people,” she said. “You don’t just give them an
       envelope and tell them there is no severance pay. That was gross.”

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                                                                                                            CARL GLASSMAN / TRIBECA TRIB
         Battery Park City Authority president Gayle Horwitz at a meeting last month of the Authority's board.




        For the first time since the mass termination of nearly half her staff on Nov. 9, the president of the Battery Park
        City Authority has spoken out publicly in defense of her controversial actions.
        Gayle Horwitz, a former first deputy comptroller for the city who was appointed in October 2010 to head the
        Authority, said it was her job to bring credibility and efficiency to an agency that had been blasted by the state’s
        Inspector General for excessive spending and mismanagement.
        “The place has so many things to fix, and for a long time I didn’t have the right team to be able to fix them.
        Things were just not working under that status quo," Horwitz told the Trib in an interview on Dec. 8. “Coming
        to work has been really unpleasant for a really, really long time because people were not willing to help out.
        There are all kinds of problems.”
        A major concern, she noted, was the escalating cost of projects in the procurement process and how contracts
        were amended. “There was this environment of spend and amend,” she said. Horwitz cited the construction of


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        outdoor art tables that were supposed to cost $265,000 and ended up with a price tag of $465,000. “And they
        still don’t work!” she exclaimed.
        The 19 terminated staffers, who now call themselves the BPCA 19, allege that the firings were conducted in an
        unprofessional manner, and are seeking additional severance pay and further compensation that they believe
        they are owed.
        ”It was the most unprofessional treatment of employees I’ve ever experienced,” said the group’s spokesman,
        Hector Calderon, the director of diversity programs and 17­year Authority employee. Calderon said his abrupt
        dismissal was especially painful because he had saved the life of a co­worker on Sept. 11 and, after that, assisted
        in the recovery efforts in Battery Park City.
        “We want to be treated with dignity,” he said.
        “The people who were fired were the people who made Battery Park City successful,” said another former
        employee, who asked not to be identified. “It seems like poor payback.”




                                                                                                              CARL GLASSMAN / TRIBECA TRIB
            Hector Calderon and Leticia Remauro, former Battery Park City Authority employees whose jobs were terminated last month, in
            the lobby of 1 World Financial Center on Dec. 6. They were mistakenly kept from going upstairs to the Authority's offices, where
            a meeting of Community Board 1's Battery Park City Committee was being held. The matter was eventually resolved.



        Among those terminated were two members of former BPCA President James Cavanaugh’s “inner circle” who
        were cited in the Inspector General’s report. The findings, which were highly critical of Cavanaugh, included
        inaccurate record keeping for mileage reimbursement by one of the employees and, from another, the refusal to
        answer questions posed by the Inspector General.
        Horwitz said that employee interviews recently conducted by an audit firm uncovered “information that gave
        you cause for concern and areas we needed to take a look at.” She declined to elaborate on those concerns.
         
        In addition, she said a staff “restructuring” was necessary to meet the future needs of Battery Park City, the 92­
        acre development that is now nearly complete. “We definitely had more people than there was work for,” she
        said.
        But the terminated workers tell a far different story. They describe themselves as a dedicated team of longtime
        employees whose years of service have gone unappreciated by the new administration under Horwitz and its
        board chairman, William Thompson.
        “We were the people who built that city,” Calderon said.
        In an interview, Leticia Remauro, a former vice president in charge of community relations, pointed to the area’s
        post­Sept. 11 recovery, numerous planning and design awards, and the recent accolades of Community Board
        1’s Battery Park City Committee—which voted on Tuesday to write personal letters of recommendation for all
        19 terminated employees—as evidence of the good work that the staff was doing.

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        Furthermore, Remauro said, it was up to Horwitz as CEO to coach staff members who were failing to meet her
        work standards.
        “You could not get in to see her. She would be rude. She would yell,” Remauro said, adding that Horwitz was
        vague about her expectations with staff. “She would reprimand people in public.”
         




                                                                                                            CARL GLASSMAN / TRIBECA TRIB
            With the development of Battery Park City now complete, Gayle Horwitz says she is preparing the Authority for a "new
            chapter."



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        The BPCA 19  sent a letter to the Authority’s board requesting a chance to address it at its next meeting. (That
        meeting, which was to take place next Tuesday, will be rescheduled due to the lack of a quorum, according to
        Anne Fenton, an aide to Horwitz.)
        “I do believe these gentlemen [on the board] are professional gentlemen and I believe when they recognize it
        was handled in an unprofessional manner they will do what they can,” Remauro said.
        Among their demands, the BPCA 19 is seeking paid health insurance for six months and six months severance
        pay, instead of the three weeks they were given. Remauro and Calderon said the last two terminated BPCA
        employees received six months severance.
        But according to Horwitz, those two people were given “separation agreements” in exchange for signing a
        release promising not to disparage the Authority—a practice criticized in the Inspector General’s report.
        “They were silenced basically,” Horwitz said. “I did not go down that path because it really goes against public
        policy, and if you’ve noticed in the past month everyone has been saying whatever they want to say.”
        Horwitz met with the entire staff on the morning of Nov. 9, informing them that there would be layoffs as part of
        an ongoing reorganization at the Authority. Everyone was instructed to go back to their offices, after which a
        Human Resources Department employee handed out the termination notices.
        “This difficult decision has been made as part of an overall restructuring of the Authority’s operations to better
        meet the changing needs of the organization,” the letter stated.
        The letter informed the employees that their jobs were being terminated as of that day, that their medical
        insurance would end after Nov. 30, and that staff members would be paid for all accrued leave time.
        The letter, signed by Horwitz, ended with a single sentence that offered little comfort to terminated employees—
        some of whom had worked for the Authority for two decades.
        “Thank you for your service to the Battery Park City Authority,” it said.
        “Why wouldn’t you take these professional people and sit them in a room and individually exit them out?”
        asked Remauro, a 12­year veteran of the Authority.
        The former employees complained that they were only given a few short hours to pack up and leave, and had no
        chance to pass along information about the projects they were working on and where to find files.
        Horwitz said it is standard practice for terminated employees to be given limited access to files, and the action
        was necessary to protect the Authority.
        “Unfortunately, you have to protect the assets of the organization. It is very standard for computers to be turned
        off and for people to be only given a few hours to pack their things,” she said.
        According to Horwitz, her decision to lay off the workers was not made lightly, but came only after giving much
        time and thought to the future needs of the Authority.
        “I could have just come to work, collected my paycheck, gone home and not have deal with this. It obviously
        would have been a lot easier for everybody,” she said. “I don’t relish what happened.”

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            BPCA President Quit for California Job




         Demetrios A. Boutris with chairman Dennis Mehiel at the Battery Park City Authority board meeting last October,
         where Mehiel introduced him as the authority's new president. Photo: Carl Glassman/Tribeca Trib




        By CARL GLASSMAN
        Posted Aug. 22, 2013

        Battery Park City Authority president Demetrios A. Boutris, who quit his briefly held job suddenly and without
        explanation on Aug. 16, is taking a position in his home state of California.
        Beginning in October, Boutris will head
        a land development and land consulting
        company based in Roseville, Calif.,
        according to an announcement released
        Thursday by the company, KT
        Communities. Boutris started at the
        authority last October.
        It is still unclear why Boutris quit with no notice or public comment.
        BPCA chairman Dennis Miehel named chief financial officer Robert Serpico as the authority's interim president
        and chief operating officer. At a meeting of the BPCA board of directors on Tuesday, Aug. 20, Miehel
        lightheartedly referred to Serpico, a 27­year veteran of the authority, as "the boss," but otherwise made no

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        mention of the transition during the
        meeting.
        Boutris, a lawyer, has long been
        associated with Miehel in support of
        Greek­American causes. He came to the
        authority from California, where he was
        a business consultant and real estate
        investor, splitting his time between
        homes in Los Angeles and Sacramento
        and the Upper West Side, where his wife
        and two sons lived. According to the KT
        Communities statement, Boutris has
        "previously consulted extensively with
        KT Communities and its founder and
        chairman, Kyriakos Tsakopoulos."
        Boutris had given up his business                   Robert Serpico was named intermin president and chief operating
        interests to take the BPCA job,                     officer of the Battery Park City Authority following the resignation of
        according to the authority at the time of           Demetrios Boutris. Photo: Carl Glassman/Tribeca Trib
        his appointment.

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                 CB1 to BPCA: Rethink 'Flawed'
                Selection Process for Next Marina
                            Operator




        As they do each December, workers prepare Manhattan Sailing Club boats for removal from the North Cove
        Marina. Photo: Allan Tannenbaum/Tribeca Trib




       By AMANDA WOODS
       Posted Dec. 22, 2014

       Community Board 1 wants the Battery Park City Authority to scrap its request for proposals for a new North
       Cove Marina operator so that the community can play a greater role in deciding who will run the marina.
       In a resolution passed on Dec. 18, the board called on the authority to start a new proposal review to ensure that
       the selected applicant “will support the public good, be a steward of our parklands and generate a reasonable
       revenue stream.”
       The resolution comes in the wake of mounting pressure by supporters of the popular current operator, Michael
       Fortenbaugh, to keep operating the marina, where he has been running a sailing club and sailing school for
       many years. Fortenbaugh says he fears he will lose out on the bid to more powerful competition, namely
       Brookfield Office Properties, the landlord of the World Financial Center, which overlooks the marina. Following
       a bidding process that began in September, the authority is expected to announce its decision next month.
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       At the board’s general meeting on Thursday, about 30 supporters spoke out in support of Fortenbaugh, including
       six teens who have attended Fortenbaugh’s Teen Sailing Camp and helped gather some of the more than 1,000
       signatures in a petition to reopen the selection process.
       “We all feel that after we
       watched Commodore Michael
       Fortenbaugh put his blood,
       sweat and tears into this, to just
       let it be taken away isn’t the
       right or fair thing to do or what
       Commodore Michael deserves,”
       said Zach Cassell, one of the
       teens.
       The resolution came a week
       after the authority informed
       Fortenbaugh, whose lease
       expires on Dec. 31, that it
       would take over the marina as        At the December meeting of Community Board 1, speakers line up to express
       an “interim measure” on Jan. 1.      their support for Michael Fortenbaugh and his continuation as the operator of
                                            the North Cove Marina. At the microphone is Kiera Galloway, who took lessons
       Following that decision, about       at Manhattan Sailing School as a high school freshman. Photo: Amanda
       200 supporters gathered at the       Woods/Tribeca Trib
       marina last week to rally behind
       Fortenbaugh in hopes that he could continue running the marina. Earlier this month, the authority’s board failed
       to vote on its selection of an operator because it lacked a quorum.
       Battery Park City Committee chair Anthony Notaro told the board at its general meeting that the request for
       proposals is “flawed” because one of its criteria, which requires that the new operator demonstrate “quality and
       strength of proposed community­based programming, including educational opportunities for children and
       teenagers, that is accessible at every income level,” only holds 15 percent of the weight in the overall decision.
       “They so diminish the value of that so that anyone with a large checkbook could come in and answer the
       [request for proposals] and potentially be a competitor,” Notaro said. “So we need this withdrawn and rewritten,
       but at a bare minimum, we need that to be the number one criteria––community­based programming and a
       proven track record doing that.”
       “Gaining community input should be a requirement and a priority,” he added.
       Asked by the Trib to respond to CB1’s resolution and its call for more community input, the authority issued this
       statement: “The North Cove Marina is a public asset and as such, the Authority is required to select an operator
       through a competitive bid process. Recognizing the value of this asset to both the BPC community and the
       public at large, the bids requested by the authority require operators to continue the ongoing operation of a
       sailing schoolat a reasonable cost to users as well as enhanced programming and opportunities for greater access
       to the waterfront.”
       The resolution also includes a plea to local elected officials to “express the will of the community to the Battery
       Park City Authority.”
       Councilwoman Margaret Chin and State Senator Daniel Squadron are already on board, without explicitly
       endorsing Fortenbaugh.
       “The Councilmember has said on the record that she feels it’s very important that a community­based operator
       be maintained for that site, and we know that Michael Fortenbaugh has done great work,” Yume Kitasei, Chin’s
       chief of staff, said at the meeting. “As a personal note, I was actually in his program for young teens and so I
       know that he’s done some great work.”
       “I want to make it clear that Daniel has come out in support of the Sailing Club and a great job is being done in
       engaging the community, making them an active part here in Lower Manhattan,” Melissa Gindin, Squadron’s
       district liaison, said. “I hope you all know that we hear your concerns. We feel the support for Michael.”
       In addressing the community board, Fortenbaugh called the authority “secretive” in its handling of the selection
       process.
       “Suddenly we find ourselves unsure of where we are,” Fortenbaugh said, adding, “We’re just asking for an open
       process.”

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            Tide Turns at North Cove Marina with
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        A tug hauls some of Michael Fortenbaugh's docks from the North Cove Marina to its new home across the river
        at Liberty Harbor Marina. Photo: Carl Glassman/Tribeca Trib




       By AMANDA WOODS
       Posted Jan. 23, 2015

       The bitter struggle by Michael
       Fortenbaugh and his supporters
       over operation of the North Cove
       Marina ended last month with a
       unanimous vote by the Battery
       Park City Authority board to hand
       over control of the marina to
       Brookfield Office Properties, the
       landlords of the giant office
       complex that towers above the
       cove.



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